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                         UNITED ST APTES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.

    SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,

   V.


   RISHI KAPOOR; et al


                           Defendants.
   - - - - - - - - - - - - -I



    Emergency Ex Parte Motion for Asset Freeze and Other
           Relief Against Defendant Rishi Kapoor




                         EXHIBIT 3
                    Declaration of Marguerite Cook
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                                     DECLARATIOl OF MARG ERITE COOK
                 Pur!,uant lo 28 U.S.C. § 1746, the undersigned ~talcs a~ follows:

                I.     My name is Marguerite Cook. I arn over 1hc age of twenty-one (21 ). I have personal
         knowledge of the mailer~ 1,ct forth herein.

                 2.        I arn a rc!lidcn1 of Florida and al all relevant times resided in Broward County,
         Florida.

                 3.      I am the fom1cr Chief Investor Relations Officer ("CIRO'') of Location Ventures.
        LLC ("L_Y"). I served as LV's CIRO from May!, 2022 until Fcbrnary 16, 2023. As LV's CIRO,
        I '' as lured to estab lish LV's investor relations department intended to provide transparent
        communications with investors, including launching an investor portal and providing accurate
        financial information both proactivcly and in accordance with the Operating Agreements to
        investors. I reported to Rishi Kapoor ("Kapoor"), LV's ChiefExccutivc Officer. My actual duties,
        however, included preparing board meeting documents under Kapoor's direction. fielding investor
        questions, collecting answers from colleagues and different departments, and reporting back to
        investors with complete oversight and direction by Kapoor.

               4.       URBIN, LLC ("Urbin") is a division of LV. Therefore, when I refer to LV,
        generally, in this declaration, I am also referring 10 Urbin and its projects.

                5.      Shortly after I began working for LV, it became clear that Kapoor managed and
        controlled all aspects of LV's operations and their related projects. Kapoor required tha1 he
        personally review and approve all communications with investors, including budgets and financial
        reports prior to them being sent to board members, investors, and prospective investors.

                6.      During my tenu re, I personally observed Kapoor misrepresent, omit, and/or provide
        false and misleading information to LV 's board of directors, investors and potential investors,
        including, but not limi ted to:

                          a.      In preparation for a July 2022 board meeting, Kapoor needed to compare
                      budgeted costs and expected returns with actual costs for the Villa Valencia project to
                      present to the board of directors. Jorge Chirinos ("Chirinos") provided the requested
                      information with the actual costs to me, and I gave that information to Kapoor. When
                      Kapoor received the requested information, he stated to Chirinos and me that Chfrinos
                      needed to reduce the costs represented as the actual costs when presented to the board.

                          b.      I witnessed Kapoor direct Jorge Chirinos ("Chirinos"), LV's former
                      Controller, and Angel Garcia ("Garcia"), LV's fom1er Chief Investment Officer, to
                      provide financial reports that underreported !he ac1ual costs of the Villa Valencia
                      project to investors. On September 19, 2022, Kapoor represented to me that updated
                      expected returns on the Villa Valencia project had been communicated to investors. I
                      knew this was false. The Villa Valencia project was over budget by at least $10 million
                      and investors were asking me for updates, which would not have occurred if Kapoor
                      had communicated the information to them.

                                                              EXHIBIT

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                          c. .    To rai~c capital, Kapoor included pro Jonna hudgc1.s along with .the
                      opcra11~g agreements, including the Urhin Coconut Grove, Urhin Mia~11 Be~ch_. Yill.1
                      Valen.cm, and 551 Bayshore projects, among others. Each project required s1gnific~nt
                      pla.nmng, permitt ing, and construction . Ordinarily. a general conlrJctor wo~ld provide
                      estimated costs to be used in formulating pro Jonna hud gcls. which c~11ma1cd _the
                      various costs to deve lop the projects. Kapoor intentionall y undcrs1a1cd construction
                      c?sls and other estimated cost~ that were used in the pro Jonna in order to represent
                      higher returns to !)O!icit prospective investors. Suhscqucntly. once Kapoor secured a
                      GMP contract, 1 which would set a maximum cost for the developer for a given project,
                      the costs previously provided to prospective investors were much lower than the actual
                      costs identified in the GMP contract. In other words, the budgets were a fiction. This
                      occurred across the board in almost every project Myself and others asked Kapoor
                      multiple limes when he was going 10 inform investors about the increased actual costs,
                      but to my knowledge, he never conveyed that information to investors. Even afler
                      Kapoor received the GMP and updated costs, he continued 10 use the pro Jonna hudgcts
                      to raise money, including during a meeting with an existing investor who Kapoor was
                      soliciting to make additional investments in December 2022. Kapoor also solicited an
                      investment from a prospective investor in the Urbin Coral Gables project using a pro
                      Jonna with inflated return expectations on December I, 2022.

                          d.       In or around late May 2022, Chirinos told me that the costs for the Urbin
                      Miami Beach project were higher than what was represented in the pm Jorrna for that
                      project. Based on my position with LY, I had reviewed the pro Jorma and Operating
                      Agreement for Urbin Miami Beach. The budget provided lo prospective investors
                      estimated construction costs for Urbin Miami Beach in the amount of S 18 million.
                      Construction costs came in at $31 million. In or around August 2022, Kapoor directed
                      staff, including myself, verbally and by email, to brainstorm ways to get the GMP under
                      $31 million.

                          e.      I observed Kapoor misrepresent anticipated returns in pro Jonna budgets.
                      For instance, LV board members told Kapoor that he was not authorized to use investor
                      funds to engage in developing projects outside of Florida unless the returns for those
                      projects exceeded returns forecasted for the South Florida projects. Prior to my joining
                      LV, Kapoor obtained for LV a letter of intent to acquire properties in Montana to begin
                      development. In May or June 2022, I observed Kapoor direct Frank Astor, President of
                      LV's Single Family division, to change the numbers in the Montana pro forrna budget
                      to ensure the forccasted returns were al least as high as what Kapoor had previously
                      represented to investors. Kapoor acknowledged to Frank Astor, Josh Baniak and myself
                      that costs for the Montana project had increased, but that he could not infonn the LV
                      hoard of the increa~ed co5ts because the expected returns were now lower than those
                      of the South Florida projects.

                          f.      Kapoor did not report acrnratc financial data to the Urbin Cocon ut Grove
                      investor~. In June 2022 , investors asked when they would receive the f"m;t quarter

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                    A GMP conlracl rcf..:r~ to a guaranteed max imum price that a gcnerol con1ractor would charge for dcvclupcr
         or properly owne r. Cn~I~ thal exceed the ma1l imum pricc 1ypicall y arc th..: responsihility of the ge neral cn ntraclor .

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                 financial reports for Urbin Coconut Grove which were more than a month IJIC at the
                 tim_e, and s_ubscquently submilled que5tion~ to me regarding the project. ~:.. u rc:.~lt of
                 thct: _question~, investors eventually learned Kapoor had directed the proJcCI to incur
                 nd_dittonal debt without disclosing it to investors or gelling approvaL Kapoor also
                 m,s_led Urbin Coconut Grove investors by not disclosing changes to the t~melinc for _the
                 pro1cct. Spcei!ically, Investor 14 had an option to redeem its investment ifl:on:..truction
                 had not started on all three of the Urbin Coconut Grove properties by December 2022.
                Given the new tirncline, construction would not begin on all three Urbin Coconut Grove
                properties by December 2022. Kapoor expressed to me and to others that he needed
                time to persuade Investor 14 not to exercise its option because Urbin Coconut Grove
                did not have the necessary funds . Kapoor instructed staff, including myself. not to
                infom1 investors regarding the new timeline for the project. In preparation for a call
                with the Urbin Coconut Grove In vestor 14, Kapoor instructed me, as well as other staff
                members, not to discuss the updated timeline, and Kapoor misrepresented the timelinc
                and the general outlook for the project during the call, which I attended. Kapoor also
                did not disclose that the costs for the project exceeded what had been disclosed to
                in vestors in the pro Jomw budget. On December 10, 2022, Kapoor sent an internal
                email, wh ich Treceived from Jonathan Dnijak, in which Kapoor acknow ledged that the
                project was $8 million over the GMP and stated, "I will have some room to navigate
                an increased budget, but not $8M, so let's work together."

                     g.      Prior to my joining LV, In vestor 49 had requested that LV send In vestor 49
                all agendas and meeting minutes for the 1505 Ponce, 551 Bayshore, and Urbin Miami
                Beach projec1s on a weekly basis. After joining LV, I learned from Claudia Mezcrhanc
                ("Mezerh ane"), LV's former Chief Operating Officer, !hat Kapoor had directed staff to
                change the minute.5 and agendas before they were sen! to Investor 49. Shortly after
                starting as CIRO, Kapoor directed me to do the same, which I refused to do. Instead, I
                notified Investor 49 that the agendas and meeting minutes it had previously received
                might not have been accu rate.

                    h.     LV had a daily conference call in which the employees responsible for each
               project provided management with updates, discussed issues, and reported on the
               progress of their projects. Mezerhane instructed staff, including myself, not to provide
               any information on these daily calls after Investor 20, one of LV's largest investors,
               which had started altcnding. In response, I instructed staff to speak openly about the
               projects. After I left LV, Mezcrhane emailed me aski ng how much information should
               be changed before sending the meeting mi nutes to Investor 49 because Kapoor directed
               her to change the minutes before sending. I responded that the minu tes should not be
               changed because it is important for the investors to know what is happening with the
               projecL'i.

                   i.     On or ahout December I. 2022, I also witnessed Kapoor pitch a prospective
               invc~tor concerning the Urbin Coral Gahlc~ project. As part of that presentation ,
               Kapoor and Angel Garcia (''Garcia"), LV's former Chief Investment O11iccr. had
               created an investor memorandum that included an inflated anticipated return. When l
               questioned Garcia about the rc1urn heing inflated, Garcia texted me that the
               memorandum reflected what Kapoor wanted to convey.

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                        j. .      1 also witnessed Kapoor misrepresent details regarding the real c~tate
                    ~ortfoho he managed. In the LV Sponsor resume. dated_2022 but created in Febr_uary
                     ?2_3, Kapoor_represented he was responsible for leading the development of _a _S4
                    ?11110_n port'.oho. I confronted him on this represent ation, as LV did not have $4 billion
                    in assets. His response was that it reneeted what he wanted to convey.


                        k.      I also witni:ssed that Vivian Bonet ("Bonet"), LV's Chief Development
                    Office'., ~!ways agreed with Kapoor and the positions he took during board meetin_gs
                    and Wtthm the office. After board meetings, when they took place, Kapoor met wtth
                    me to discuss what had occurred. As a member of LV and a board member. Kapoor
                    reported that Vivian always voted with Kapoor anytime a vote of the member. was
                    called. The only time I witnessed Bonet question Kapoor's positions was in private,
                    where she complained to me about Kapoor changing the numbers in pro fomw budgets.

                 I declare under the penalty of perjury that the foregoing is true, correct, and made in good
         faith. Executed on this~ day of December 2023.




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